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 6
     Attorney for Defendant
 7   ROWLAND MARCUS ANDRADE

 8
                               UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10
                                  SAN FRANCISCO DIVISION
11

12   UNITED STATES OF AMERICA                    Case No. 3:20-cr-00249-RS

13               Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                 DEFENDANT ROWLAND MARCUS
14         v.                                    ANDRADE’S MOTION TO COMPEL
                                                 DISCOVERY
15   ROWLAND MARCUS ANDRADE,
16               Defendant.
                                                 Judge: Hon. Richard Seeborg
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     [PROPOSED] ORDER GRANTING MOTION TO COMPEL                   3:20-CR-00249-RS
     Case 3:20-cr-00249-RS     Document 97-2        Filed 07/15/22   Page 2 of 2




                                     [PROPOSED] ORDER
 1

 2         Upon the Motion of Defendant Marcus Andrade, and good cause appearing, IT IS

 3 HEREBY ORDERED THAT Defendant’s Motion to Compel Discovery in the above-captioned

 4 case is hereby GRANTED.

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 6
     Dated: ____________________                     By: ____________________________
 7                                                       HON. RICHARD SEEBORG
                                                         United States District Court Judge
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     [PROPOSED] ORDER GRANTING MOTION TO COMPEL                           3:20-CR-00249-RS
